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RICCO DUJUAN TUCKER,
Plaintiff,
Vv.
JOHN DOE NO. 1, et al.,

Defendants.

 

 

Magistrate Judge.

prejudice.

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No. CV 20-2840 PSG (PVC)

ORDER ACCEPTING FINDINGS,
CONCLUSIONS AND
RECOMMENDATIONS OF UNITED
STATES MAGISTRATE JUDGE

Pursuant to 28 U.S.C. § 636, the Court has reviewed the Complaint in the above-
captioned matter, all the records and files herein, and the Report and Recommendation of
the United States Magistrate Judge. The time for filing Objections to the Report and
Recommendation has passed and no Objections have been received. Accordingly, the

Court accepts and adopts the findings, conclusions and recommendations of the

IT IS ORDERED that Judgment shall be entered dismissing this action with

 
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IT IS FURTHER ORDERED that the Clerk serve copies of this Order and the

Judgment herein on Plaintiff at his current address of record.

LET JUDGMENT BE ENTERED ACCORDINGLY.

 

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ILIP S. GUTIERREZ
UNITED STATES DISTRICT JUDGE

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